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                                                      MEMO ENDORSED:
                                                      The application is granted. The initial pretrial
                                                      conference scheduled for November 4, 2021 is
                                                      adjourned to February 17, 2022 at 11:00 a.m.
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October 28, 2021


VIA ECF                                               Dated: November 3, 2021

Hon. Paul G. Gardephe
United States District Judge
United States District Court for the Southern District of New York
40 Foley Square, Courtroom 705
New York, New York 10007

Re:      Justin Franco v. American Airlines, Inc., Case No. 21-cv-05918-PGG
         Joint Letter in Advance of November 4, 2021 Initial Pre-Trial Conference

Your Honor:

Pursuant to the Court’s Notice of Pretrial Conference in the above-referenced action, counsel for
Plaintiff Justin Franco (“Plaintiff”) and counsel for Defendant American Airlines, Inc. (“American”)
write jointly in advance of the initial pretrial conference scheduled before Your Honor on November
4, 2021 at 10:30 a.m. In light of the Court’s referral of this action to mediation (Dkt. No. 15), counsel
for the Parties respectfully request that the Court adjourn the conference to a date and time after
the parties have completed mediation that is convenient to the Court. To that end, the counsel for
the Parties propose to submit a status report to the Court within two weeks of the mediation to
advise the Court of any progress made toward a resolution. If the Court denies the request for an
adjournment, counsel for the Parties respectfully request that counsel be permitted to appear for
the November 4, 2021 conference by remote means, either via telephone or videoconference
platform. Additionally, to the extent the Court denies the request for an adjournment, the parties
also submit herewith the jointly proposed Case Management Plan. If the Court adjourns the
conference, counsel for the Parties propose to submit a new jointly proposed Case Management Plan
to the Court one week prior to the adjourned-to conference date.

I.       Brief Description of the Case

Plaintiff’s Description

Plaintiff, who is Latino, specifically Guatemalan, was employed by American from 2013 until his
unlawful termination in 2020. Beginning in 2019, after American’s hiring of Plaintiff’s out-of-state
counterpart, Plaintiff’s then-supervisor repeatedly treated Plaintiff less well than his Caucasian
colleagues by, inter alia, allowing Plaintiff’s counterpart to use an elevated professional title despite
Plaintiff holding the same position at American, allowing Plaintiff’s counterpart to engage publicly
with media while simultaneously barring Plaintiff from doing so, and forcing Plaintiff to report to his
Caucasian counterpart despite their positions being laterally ranked to one another. When Plaintiff




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complained about the unfair treatment, American responded by scolding Plaintiff, issuing overly and
unfairly criticizing Plaintiff, and placing Plaintiff on a “final written warning” despite the fact that
Plaintiff had not received any prior warnings or counseling. After Plaintiff complained about
discrimination and retaliation to American’s HR department, HR failed to substantively respond to
Plaintiff’s complaints and closed the file after an unusually short investigation. In May of 2020,
Plaintiff submitted a request for a medical leave due to the depression, anxiety, and panic attacks
he experienced caused by the toxic work environment he endured. In response, roughly five (5)
days after submitting his request for leave, American terminated Plaintiff’s employment.

Based on the foregoing, Plaintiff brings this action under Title VII of the Civil Rights Act of 1964, the
New York State Human Rights Law, and the New York City Human Rights Law alleging that American
discriminated against Plaintiff on the basis of his race and national origin (Latino/Guatemalan) and
retaliated against him in response to his lawful complaints of discrimination. Plaintiff further brings
this action under the Family and Medical Leave Act alleging that American retaliated against Plaintiff
following his request for a medical leave caused by the hostile work environment he was subjected
to.

American’s Description

American disputes Plaintiff’s claims in their entirety. Plaintiff had a documented history of poor
decision-making, performance deficiencies, and unprofessional behavior, which Plaintiff’s managers
attempted to address with Plaintiff during his employment with American, without success. Plaintiff’s
employment with American was terminated based on Plaintiff’s poor performance and unprofessional
behavior. Neither the termination decision, nor any other decision regarding Plaintiff’s employment
with American, was based on Plaintiff’s membership in any protected class, any purported protected
activity, or any other impermissible factor.

II.     Anticipated Motions.

Plaintiff’s Position

Plaintiff does not anticipate filing any motions at this time.

American’s Position

American anticipates filing a fully dispositive summary judgment motion at the conclusion of
discovery.

III.    Prospect for Settlement.

Plaintiff’s Position

Plaintiff maintains that the evidence in this matter will support his allegations and the issues in this
matter cannot properly be determined by motion but is prime for a jury’s determination. In addition,
Plaintiff maintains that there is significant discovery to be conducted in this matter and estimates
that it will be difficult to reach a resolution without the exchange of, at a minimum, written discovery.
Therefore, Plaintiff believes that the prospect of settlement at this procedural point in the case is
low. However, Plaintiff is fully prepared to participate in the court ordered mediation of this matter
in good faith.
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American’s Position

As discussed above, American acted at all times in compliance with the law and anticipates prevailing
on a motion for summary judgment at the close of discovery. Accordingly, American believes the
prospect for settlement is low. However, American is prepared to participate in the mediation in
good faith.

Respectfully submitted,

/s/ Melissa C. Rodriguez                               /s/ Gabrielle M. Vinci

Melissa C. Rodriguez                                   Gabrielle M. Vinci

Attorney for Defendant                                 Attorney for Plaintiff

Enclosure

c: All Counsel of Record (via ECF)
